i5DC- BALTIMORE

99 SEP 5 PxS:59

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Kimberly Kubas
vs.
331B, LLC
Civil No. MJM-20-2456 Plaintiff's Trial Exhibits
Exhibit No. | Identification Admitted Description
1 08/29/2023 08/29/2023 Text Exch Kubas, Conway
2 Kubas Time Clock June 2019
3 Text Exch Kubas, Chisholm
3a 08/29/2023 08/29/2023 Text Exch Kubas, Chisholm
4 08/30/2023 08/30/2023 Email L. Butler-Williams to Chisholm
5 08/31/2023 08/31/2023 331B LLC 2018 Tax Return
6 08/31/2023 08/31/2023 331B LLC 2019 Tax Return
7 08/29/2023 08/29/2023 Email Exch Kubas, Chisholm, Saab
8 08/30/2023 08/30/2023 Text Chisholm to Saab
9 08/29/2023 08/29/2023 Text Exch Chisholm and Kubas
10 08/30/2023 08/30/2023 Text Chisholm to Saab
1] Text Exch Kubas, Conway
lla 08/29/2023 08/29/2023 Text Exch Kubas, Conway
12 Conway Affidavit
13 Beers Affidavit (unsigned)
14 Moore Affidavit
15 C. Conway Affidavit
16 Chisholm Affidavit with attached emails
17 Text Exch Kubas, Chisholm
18 Text Exch Chisholm, B. Williams
18a 08/31/2023 08/31/2023 Text Exch Chisholm, B. Williams

Exhibit List (Rev. 3/1999)

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Exhibit No. | Identification Admitted Description

19 08/29/2023 08/29/2023 “Hourcorrection” slack forum

20 Butler-Williams Pay Stubs

21 Butler-Williams Pay Stubs Summary
(331B 245-0273)

22 WITHDRAWN

23 WITHDRAWN

24 Text Exch Chisholm, Conway

25 Unemployment Denial Letter

26 08/30/2023 08/30/2023 Chisholm Timeline Statement

27 Email Conway to Chisholm re Complaint

28 WITHDRAWN

29 Email Chisholm to Beers

30 WITHDRAWN

31 Email Chisholm to Moore

32 EEOC Notice of Charge of

Discrimination
33 Email Chisholm to Moore, Saab and
others
34 Email Exch Chisholm, Conway
35 Email Exch Chisholm and Y. Anisal, Div.
of MD Unemployment

36 Email Conway to Chisholm

a0 08/30/2023 08/30/2023 Email Exch Conway, Chisholm

38 Email Exch Conway, Chisholm

39 08/30/2023 08/30/2023 Email Butler-Williams to Chisholm

40 08/30/2023 08/30/2023 Email Exch Chisholm, Saab

41 Text Conway to Chisholm

42 08/31/2023 08/31/2023 Text Chisholm to Saab

43 Text Conway to Chisholm

Exhibit List (Rev. 3/1999)

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Exhibit No. | Identification Admitted Description
44 08/30/2023 08/30/2023 Email Chisholm to Crowell and Benedick
(Redacted)
45 08/30/2023 08/30/2023 Text Exch Chisholm, Conway
46 Text Exch Chisholm, Saab
47 08/30/2023 08/30/2023 Text Exch Chisholm, Saab
48 Text Conway to Chisholm
49 Email Chisholm to Conway
50 Email Exch Conway Chisholm
51 08/29/2023 08/29/2023 Text Exch Beers, Kubas
52 08/29/2023 08/29/2023 Text Exch Kubas, Conway
53 08/30/2023 08/30/2023 Text Exch Kubas, Salemi
54 Text Exch Kubas, Butler-Williams
55 08/29/2023 08/29/2023 Text Exch Kubas, Moore
56 Email Exch Kubas, Chisholm
57 08/29/2023 08/29/2023 Unemployment Fact Finding Report
58 Schedule 1 2019 Kubas Tax Return
(redacted)
59 08/29/2023 08/29/2023 2018 Kubas Tax Returns (redacted)
60 08/29/2023 08/29/2023 2019 Kubas Tax Returns (redacted)
61 2020 Tax Documents
62 Kubas Medical Records
63 Audio Recording of Unemployment
Appeal
64 Amended Complaint
65 Answer to Complaint
66 Defendant’s Responses to Plaintiff's
Interrogatories
67 Plaintiff's Responses to Defendant’s

Interrogatories

Exhibit List (Rev. 3/1999)

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Exhibit No. | Identification Admitted Description

68 WITHDRAWN

69 Text Exch Chisholm, Conway

70 Email Exch Conway and Chisholm

71 WITHDRAWN

72 WITHDRAWN

73 WITHDRAWN

74 WITHDRAWN

a Text Chisholm to J. Souders and B.
Moore

76 WITHDRAWN

Ti Text Exch Chisholm, Chandler

78 Text Exch Chisholm, Conway

79 WITHDRAWN

80 WITHDRAWN

81 WITHDRAWN

82 WITHDRAWN

83 Text Msg Chisholm to Saab, Buckel and
Others

84 08/30/2023 08/30/2023 Signed Affidavit of Brian Chisholm

85 9/1/2023 9/1/2023 Text Moore, Chisholm

Exhibit List (Rev. 3/1999)

